
ORDER
Considering the Joint Petition for Interim Suspension Filed By Respondent and the Office of Disciplinary Counsel:
IT IS ORDERED that respondent, Dale C. Cannizzaro, attorney at law, be immediately suspended from the practice of law in the State of Louisiana pursuant to Supreme Court Rule XIX, § 19. Said interim suspension is to remain in effect pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX.
KNOLL, J. not on panel. Rule IV, Part 2, § 3.
/s/ Walter F. Marcus, Jr. Justice, Supreme Court of Louisiana
